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                                                       U.S. DISTR I CT COU R T
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            IN THE UNITED STATES DISTRICT COURT FOR
               THE SOUTHERN DISTRICT OF GEORGIA 2070117 AHH32
                       SAVANNAH DIVISION

DEMETRIUS MARCELIJUS GREEN,                          CLERK5^^J^
     Petitioner,

V.                                          CASENO. CV412-070

UNITED STATES OF AMERICA,

     Respondent.


                              ORDER

     Before the Court is the Magistrate Judge's Report and
Recommendation (Doc. 4), to which objections have been

filed (Doc. 6). After a careful de novo review of the

record, the Court finds Petitioner's objections without

merit.     Accordingly, the report and recommendation is

ADOPTED as the Court's opinion in this case, and the 28

U.S.C. 9 2255 Petition is DISMISSED. As noted in the

report and recommendation, the Court declines to grant

Petitioner a Certificate of Appealability, rendering moot

any request for leave to appeal in forma pauperis.                   The

Clerk of Court is DIRECTED to close this case.

     SO ORDERED this      /7 day of October 2012.

                                   WILLIAM T. MQOPE, JR.K
                                   UNITED STATES DISTRICT COURT
                                   SOUTHERN D I STRICT OF GEORGIA
